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David Stebbins (pro se Plaintiff)
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      UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF CALIFORNIA

DAVID STEBBINS,                                                             PLAINTIFF

VS.                                  Case 3:22-cv-00546-JSW

EMILY REBÔLO, ET AL                                                         DEFENDANTS

      REPLY IN SUPORT OF [21] MOTION FOR LEAVE TO FILE MOTION FOR
                                     RECONSIDERATION
       Comes now, pro se Plaintiff David Stebbins, who hereby submits the following Reply in
Support of my Motion for Leave to File Motion for Reconsideration.
   1. The deadline to file an opposition to this motion was July 25, 2022. No opposition to this
       motion has been filed. Therefore, their opportunity to argue against this motion has
       passed.
   2. However, I do want to say this: The Motion for Leave does not contain very thorough
       arguments. It wasn't supposed to. According to the local rules, I must first file a motion
       for leave to file a motion for reconsideration, and if that motion is granted, then and only
       then am I allowed to file the motion for reconsideration itself. See Local Rule 7-9(a).
       That is where the bulk of arguments will be made if leave is granted.
   3. My basis for granting leave to file a motion for reconsideration is in found in Local Rule
       7-9(b)(3) (a manifest failure by the Court to consider material facts or dispositive legal
       arguments which were presented to the Court). Namely, the Court did not consider …
       (a) All of the evidence and binding legal authority that it failed to consider in the related
           case (Stebbins v. Polano).
       (b) The complete lack of evidence that the underlying works were fair use or that I was


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          just filing suit in order to silence criticism.
      (c) The complete lack of evidence that the underlying works lack minimal creativity.
      (d) The complete absence of any legal authority stating that a good faith mistake on one
          unrelated application for copyright registration constitutes grounds to overcome the
          presumption of validity of entirely unrelated copyrights.
      (e) It manifestly failed to address all of the claims that were before the court.
   4. The Court manifestly failed to consider all of these arguments because, by its own
      admission, it was angry at me for issuing the voluntary dismissal. However, because I had
      an absolute right to do that, the Court should recuse itself if it cannot set aside its personal
      dislike towards me.
      So notified on this, the 27th day of July, 2022.
                                                                                 /s/ David Stebbins
                                                                                     David Stebbins
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